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 1                                               THE HONORABLE MARSHA J. PECHMAN
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
      THE POKÉMON COMPANY                         No. 19-cv-1911MJP
10    INTERNATIONAL, INC., a Delaware
      corporation,                                ORDER GRANTING PLAINTIFF’S
11                                                MOTION TO EXTEND THE DEADLINE
                             Plaintiff,           FOR THE JOINT STATUS REPORT &
12                                                RELATED DEADLINES
               v.
13
      BRYAN GARCIA CRUZ, an individual,
14
                             Defendant.
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      ORDER
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 1                                         [PROPOSED] ORDER
 2            Before the Court is Plaintiff The Pokémon Company International, Inc.’s (“TPCi”)
 3   Motion to Extend the Deadline for the Joint Status Report & Related Deadlines. Having
 4   considered the motion, all relevant pleadings, and the papers filed in support of and in
 5   opposition, if any, to the motion, this Court GRANTS the Motion.
 6            The deadline for the Joint Status Report is extended 90 days to January 4, 2021, and all
 7   Joint Status Report-related deadlines are extended accordingly.
 8            IT IS SO ORDERED.
 9            Dated this 18th day of September, 2020.
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                                                           A
                                                           Marsha J. Pechman
                                                           United States Senior District Judge
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14   Presented by,
15   s/ Holly M. Simpkins
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      ORDER
      (No. 2:19-cv-1911MJP) – 2

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